219 F.3d 8 (1st Cir. 2000)
    CARMEN MILLER; LAWRENCE MILLER, Plaintiffs, Appellants,v.KENNEBEC COUNTY; KNOX COUNTY; ROCKPORT CITY OF; BRYAN T. LAMOREAU; DANIEL G. DAVEY; BRENT DAVIS; JEFFREY FULLER; NANCY A. DESJARDIN; JANE DOE, Defendants, Appellees.
    No. 99-2079
    United States Court of Appeals For the First Circuit
    Heard June 7, 2000.Decided July 17, 2000.
    
      1
      APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MAINE. Hon. Morton A. Brody, U.S. District Judge and Hon. Eugene W. Beaulieu, U.S. Magistrate Judge.
    
    
      2
      Dale F. Thistle, with whom Law Office of Dale F. Thistle was  on brief, for appellants.
    
    
      3
      Edward R. Benjamin, Jr., with whom Thompson &amp; Bowie was on  brief, for appellees Town of Rockport and Brent Davis.
    
    
      4
      William R. Fisher, with whom William R. Fisher, P.A. was on  brief, for appellees Knox County, Daniel G. Davey, Jeffrey Fuller, Kennebec County and Bryan T. Lamoreau.
    
    
      5
      Before: Torruella, Chief Judge, Lipez, Circuit Judge, and Schwarzer,* Senior District Judge.
    
    
      6
      SCHWARZER, Senior District Judge.
    
    
      7
      The pivotal issues  before us are whether qualified immunity protected Rockport Officer  Brent Davis when he arrested plaintiff Carmen Miller on a  restricted warrant and whether Sheriff Daniel Davey and Knox County  can be held liable for permitting her to be subjected to  unreasonable strip searches.
    
    FACTUAL BACKGROUND
    
      8
      Miller's ordeal began on Saturday afternoon (of the three  day Patriots' Day weekend), April 13, 1996, when Davis stopped her  in Rockport, Maine, for driving with an expired inspection sticker. A routine warrant check disclosed a two-year-old outstanding  warrant in Kennebec County for failure to appear in court and to  pay a $235 fine.  The Rockport dispatcher relayed to Davis the  information received from the Kennebec County dispatcher that the  warrant required Miller be taken "before a judge immediately" and  that it specified $235 cash bail.  Davis acknowledged the  information.  He then arrested Miller.  He directed her to park her  car in a nearby parking lot, placed her six-year-old passenger in  the front seat and Miller in the back seat of his police car, and  proceeded to Miller's residence where he left the child with  Miller's husband, Lawrence Miller.  Lawrence Miller told Davis that  the fine had been paid and that he had a canceled check to prove  it, but Davis did not wait and instead proceeded to the Knox County  jail where Rockport detained arrestees.
    
    
      9
      On arrival at the jail, a sergeant from the Knox County  Sheriff's Office spoke by phone with the Kennebec dispatcher who  explained that "on the top of the warrant, it says . . . this  warrant to be executed by bringing defendant immediately before a  sitting Judge."  The sergeant replied, "So, he shouldn't [have]  brought her to the jail, he should've taken her to a judge."  Davis  then got on the phone.  The dispatcher again told him, "This  warrant is to be executed by bringing defendant immediately before  a sitting judge."  Davis replied, "Okay, I got, on mine, it's got  Active warrant of arrest, then it says bail $235, to be taken to a  judge."  The dispatcher elaborated, "They've got it printed in big  letters on top of the actual warrant," and added that it "means  that it can only be executed Monday through Friday or unless you  can find a Judge available today," and Davis acknowledged, "Yeah,  right."  Though no party recollects the substance of the  conversation, Davis claims he also spoke by phone with Kennebec  County Assistant District Attorney James Mitchell who advised him  to detain Miller until Tuesday.
    
    
      10
      Meanwhile, as part of the intake process at the jail,  Carmen Miller was required to submit to a strip search and, while  naked, to squat and cough.  She was then placed into a cell  adjacent to male inmates.  After visits from her husband and from  her in-laws, she was again subjected to strip searches and required  to squat naked and cough.  On Monday, April 15, after several calls  by Miller's attorney, her husband was permitted to bail her out.
    
    
      11
      The district court granted summary judgment for all  defendants.  Miller challenges the judgment dismissing her claims  (1) against Officer Davis, the Town of Rockport, Kennebec County,  and Sheriff Bryan Lamoreau for wrongful arrest, and (2) against  Sheriff Daniel Davey and Knox County for unreasonable searches. Jurisdiction arises under 28 U.S.C. §a1291.  Review of the summary  judgment is de novo.  See Whiting v. Kirk, 960 F.2d 248, 251 (1st  Cir. 1992).
    
    DISCUSSION
    I.  LIABILITY FOR WRONGFUL ARREST
    A.  Officer Davis
    
      12
      The district court held that Davis was entitled to  qualified immunity.  The court assumed that it is clearly  established that an arrest supported only by an arrest warrant must  be conducted within the constraintsof that warrant.  It then held  that the warrant in this case was ambiguous and that Davis acted  reasonably in light of the warrant's confusing commands.  The court  thought that the direction to "bring[] defendant immediately before  a sitting judge" contradicted the words in the body of the warrant  directing the officer to "arrest said defendant and bring her  before the court."  It also thought that the provision for bail  suggested that the defendant could be brought to jail rather than  to the court.  It noted that the disagreement between the Kennebec  County dispatcher's interpretation and that of Assistant District  Attorney James Mitchell confirmed the warrant's ambiguity.
    
    
      13
      Our analysis of a qualified immunity claim has two  components.  First, we ask whether "the right asserted by the  plaintiff was 'clearly established' at the time of its alleged  violation."  Burns v. Loranger, 907 F.2d 233, 235 (1st Cir. 1990). If it was, we will "assume that the right was recognized by the  defendant officials."  Id.  Second, "we will deny the immunity  claim if a reasonable officer situated in the same circumstances  should have understood that the challenged conduct violated that  established right."  Id. at 235-36; see also Napier v. Town of  Windham, 187 F.3d 177, 182 (1st Cir. 1999).
    
    
      14
      The first prong of the analysis is readily dispatched. While there is no case law directly relating to arrest warrants, it  is self-evident that a seizure conducted pursuant to an arrest  warrant must conform to the terms of that warrant.  Cf. United  States v. Upham, 168 F.3d 532, 536 (1st Cir. 1999) ("It is settled  law that the search and seizure conducted under a warrant must  conform to the warrant.").
    
    
      15
      Turning to the second prong, we see no ambiguity in this  warrant nor can we find as a matter of law that Davis acted  reasonably in executing it.  The explicit direction that "this  warrant [is] to be executed by bringing defendant immediately  before a sitting judge" told the arresting officer precisely the  scope of the warrant and of his authority under it.  Moreover,  taking into account the fact that it was not a felony warrant but  a bail warrant for nonpayment of a fine with bail set at $235, a  reasonably competent officer would not execute it by depositing an  arrestee in jail for a long weekend stay.  That the restriction on  this warrant may have been novel to Davis and the dispatcher does  not alter our conclusion.  A reasonable officer in Davis's position  would have at least attempted to comply with the warrant's terms by  seeking out a judge, the county clerk, or the county bail  commissioner.  Davis made no attempt whatever.  Instead, after  having been repeatedly told by the dispatcher that the warrant  required Miller to be taken before a judge immediately, he spoke  with an assistant district attorney (the content of this  conversation is unknown) who had never seen the warrant and did not  know that Miller claimed to have paid the fine.
    
    
      16
      Viewing the evidence in the light most favorable to  Miller, there is a question of fact whether Davis's arrest and  detention of Miller on a warrant requiring that she be taken before  a judge immediately was objectively reasonable.  See Torres-Ramrez v. Bermudez Garca, 898 F.2d 224, 228 (1st Cir. 1990).  Davis was  therefore not entitled to qualified immunity.
    
    
      17
      B.  Kennebec County and Sheriff Bryan Lamoreau
    
    
      18
      Miller contends that Kennebec County can be held liable  for failing to train its personnel in the proper handling,  interpretation and verification of arrest warrants.  The district  court dismissed the claim against Kennebec County because no  Kennebec employee inflicted a constitutional injury on Miller.  We  agree.  Miller cannot prevail on a § 1983 claim against a  municipality "absent a constitutional violation by its  [employees]."  Evans v. Avery, 100 F.3d 1033, 1039-40 (1st Cir.  1996).  There is no evidence that training given by Kennebec County  Sheriff Bryan Lamoreauwas constitutionally deficient.  Kennebec  County dispatcher Hatch did not cause an unconstitutional seizure  of Miller because he offered the correct interpretation of the  warrant.  The most the evidence shows in this case is that Kennebec  County personnel negligently failed to recall the warrant after the  fine had been paid, but Miller does not contend that this omission  rises to constitutional dimensions.
    
    
      19
      Miller also seeks to impose liability on Kennebec County  for the unreasonable advice allegedly given to Davis by Assistant  District Attorney Mitchell.  Because there is no evidence as to  just what advice was given or that Mitchell had the authority to  act as a policy maker for the County, the claim was properly  dismissed.  See Monell v. New York City Dep't of Soc. Servs., 436  U.S. 658, 694 (1978).
    
    C.  Town of Rockport
    
      20
      Miller claims that the Town of Rockport can be held  liable for failing to train its police officers in the proper  execution of arrest warrants.  Miller fails to offer any evidence,  however, of an unlawful custom or of deliberate indifference that  would bring her allegations within Monell, 436 U.S. at 690-95, or City of Canton v. Harris, 489 U.S. 378, 388-89 (1989).
    
    II.  LIABILITY FOR STRIP SEARCHES
    A.  Knox County
    
      21
      The district court found that there was ample evidence  from which a jury could find that the repeated strip searches to  which Miller was subjected during her three-day detention in the  Knox County jail were not justified by a reasonable suspicion that  she was concealing contraband or weapons, particularly because the  offense for which she was detained--failure to pay a fine--gave  rise to no such suspicion.  See Swain v. Spinney, 117 F.3d 1, 6  (1st Cir. 1997).  We agree.  The court concluded, however, that  none of the defendants could be held responsible.  It held that  assuming Sheriff Davey was the policy maker responsible for the  Knox County jail, there was no evidence that he had actual  knowledge that strip and body cavity searches were being conducted  in contravention of the County's written policy or that the  practice was so widespread that Davey should have known.
    
    
      22
      Miller must meet two requirements to maintain a § 1983  claim grounded upon an unconstitutional municipal custom or  practice.  First, the custom or practice must be attributable to  the municipality, i.e., it must be "so well settled and widespread  that the policymaking officials of the municipality can be said to  have either actual or constructive knowledge of it yet did nothing  to end the practice."  Bordanaro v. McLeod, 871 F.2d 1151, 1156  (1st Cir. 1989).  Second, the custom must have been the cause of  and "the moving force" behind the deprivation of constitutional  rights.  Id. at 1157.
    
    
      23
      There was sufficient evidence for a jury to find the  existence of a practice to strip search arrestees without regard to  whether there was a reasonable suspicion that they concealed  weapons or contraband.  Jeffrey Fuller, a corrections officer  assigned to the jail, testified without contradiction that,  contrary to the County's written policy which conformed to  constitutional standards, all arrestees unable to make bail are  strip searched.  Moreover, Miller's own experience being strip  searched is undisputed by Knox County on summary judgment.  See id. at 1156 ("Additional support for the existence of such a practice  can be inferred from the event itself.").
    
    
      24
      Although there is no direct evidence that Sheriff Davey,  as the responsible Knox County official, had actual knowledge of  the jail's practice of strip searching all arrestees unable to make  bail, his knowledge may be inferred.  Miller offered undisputed  evidence that the jail held nomore than 59 arrestees, that all  persons unable to make bail were routinely strip searched  regardless of whether they were suspected to have weapons or  contraband, and that she herself was strip searched repeatedly  during her forty-eight hour detention.  The evidence is sufficient  to raise a triable issue that the strip search practice was "so  widespread or flagrant that in the proper exercise of their  official responsibilities, the municipal policy makers should have  known of [it]."  Id. at 1157 (citations, internal quotation marks,  and alterations omitted).  Moreover this practice of strip  searching all arrestees unable to make bail was the moving force  behind the unreasonable searches of Miller.  We agree with the  district court, and it is not disputed, that there was no  reasonable suspicion that Miller was concealing weapons or  contraband.
    
    B.  Sheriff Davey
    
      25
      To impose supervisory liability on Davey, Miller must  establish that his conduct or inaction amounts to "reckless or  callous indifference" of her constitutional rights and that an  "affirmative link" existed between the constitutional violation and  his acts or omissions.  Gutierrez-Rodrguez v. Cartagena, 882 F.2d  553, 562 (1st Cir. 1989).  Because the evidence is insufficient to  meet that standard, we affirm the summary judgment for Davey.
    
    CONCLUSION
    
      26
      For the reasons stated, we reverse the judgment for Brent  Davis and Knox County and remand for further proceedings consistent  with this opinion.  We vacate the order declining jurisdiction over  the supplemental claims against those two defendants without  prejudice.  In all other respects, the judgment is affirmed.
    
    
      27
      Costs to be assessed against Officer Davis and Knox  County.  See Fed. R. App. P. 39(a)(3).
    
    
      
        Notes:
      
      
        *
           Of the Northern District of California, sitting by designation.
      
    
    